                              NO. 07-10-00045-CV
                                       
                            IN THE COURT OF APPEALS
                                       
                       FOR THE SEVENTH DISTRICT OF TEXAS
                                       
                                  AT AMARILLO
                                       
                                    PANEL D
                                       
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APRIL 13, 2010
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                 IN RE TURPEN INSURANCE AGENCY, INC., RELATOR
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Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.

                             ON MOTION TO DISMISS
                                       
Relator Turpen Insurance Agency, Inc., has filed a motion to dismiss its petition for writ of mandamus currently pending before us.  According to the motion, the parties to the underlying litigation have reached a settlement.  Attached to the motion is a copy of an order signed by the trial court, dismissing the underlying litigation.  Because the motion does not contain a certificate of conference, we withheld its determination for ten days.  Tex. R. App. P. 10.1(a)(5) &amp; 10.3(a).  During this period, no party filed a response.  
Accordingly, the motion to dismiss is granted and the original proceeding is dismissed.  Tex. R. App. P. 42.1(a)(1).  Relator's pending motion for leave to file privileged documents under seal is dismissed as moot.  Costs of the original proceeding are taxed against relator.  Tex. R. App. P. 42.1(d).  Having dismissed the original proceeding at relator's request, we will not entertain a motion for rehearing.

James T. Campbell
									Justice
